     Case 4:24-cv-01940    Document 46   Filed on 04/14/25 in TXSD     Page 1 of 22




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

TERRY MONSKY, individually and on behalf
of all others similarly situated,

                     Plaintiff,

v.                                         Case No. 4:24-cv-01940
                                           (consolidated with Case No. 4:24-cv-
DIRECT DIGITAL HOLDINGS, INC.,             02567)
MARK WALKER, KEITH W. SMITH,
DIANA DIAZ, and DIRECT DIGITAL
MANAGEMENT, LLC,

                     Defendants.

            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
                  PLAINTIFF’S CONSOLIDATED COMPLAINT
    Case 4:24-cv-01940                      Document 46                 Filed on 04/14/25 in TXSD                         Page 2 of 22




                                                         TABLE OF CONTENTS

Introduction ......................................................................................................................................1

Argument and Authorities................................................................................................................1

           I.         The Opposition fails to identify any false or misleading statement.........................1

                      A.          The Opposition has no comeback to the puffery nature of many
                                  CSs. .............................................................................................................1

                      B.          The CC continues to lack any actionable misstatement of fact. ..................2

                      C.          The CC continues to lack an actionably false or misleading
                                  omission. ......................................................................................................3

                      D.          The Opposition cannot escape the PSLRA’s safe harbor. ...........................9

           II.        The Opposition comes nowhere close to identifying a strong inference of
                      scienter. ..................................................................................................................11

                      A.          The CC’s scienter theory remains implausible, especially when
                                  juxtaposed against the backwards motive allegations. ..............................11

                      B.          The Opposition cannot make out a strong inference of scienter
                                  through the CC’s circumstantial allegations. .............................................13

                                  1.         Plaintiff continues to lack particularized factual allegations
                                             demonstrating scienter. ..................................................................13

                                  2.         Plaintiff’s boilerplate scienter theories remain flawed. .................13

           III.       The Section 20(a) claim fails with the primary claim............................................15

Conclusion .....................................................................................................................................15




                                                                         i
    Case 4:24-cv-01940                  Document 46               Filed on 04/14/25 in TXSD                    Page 3 of 22




                                                  TABLE OF AUTHORITIES

                                                                                                                             Page(s)

CASES

Abrams v. Baker Hughes Inc.,
   292 F.3d 424 (5th Cir. 2002) ...................................................................................................12

Ark. Teacher Ret. Sys. v. Goldman Sachs Grp., Inc.,
   77 F.4th 74 (2d Cir. 2023) .........................................................................................................1

Callinan v. Lexicon Pharm., Inc.,
   479 F. Supp. 3d 379 (S.D. Tex. 2020) .....................................................................................14

Carlton v. Cannon,
   2016 WL 3959164 (S.D. Tex. July 22, 2016)..........................................................................12

Colossus Media, LLC v. Adalytics Research, LLC,
   2025 WL 712986 (D. Md. Mar. 5, 2025)...............................................................................1, 3

Crutchfield v. Match Grp., Inc.,
   529 F. Supp. 3d 570 (N.D. Tex. 2021) ......................................................................................9

Dorsey v. Portfolio Equities, Inc.,
   540 F.3d 333 (5th Cir. 2008) ...................................................................................................13

Fener v. Belo Corp.,
   425 F. Supp. 2d 788 (N.D. Tex. 2006) ....................................................................................14

Heck v. Orion Grp. Holdings, Inc.,
   468 F. Supp. 3d 828 (S.D. Tex. 2020) .......................................................................................4

Hershfang v. Citicorp,
   767 F. Supp. 1251 (S.D.N.Y. 1991)...........................................................................................8

Higginbotham v. Baxter Int’l Inc.,
   495 F.3d 753 (7th Cir. 2007) .....................................................................................................8

Hutchins v. NBTY, Inc.,
   2012 WL 1078823 (E.D.N.Y. Mar. 30, 2012) ...........................................................................6

In re ArthroCare Corp. Sec. Litig.,
    726 F. Supp. 2d 696 (W.D. Tex. 2010)....................................................................................15

In re Cassava Scis., Inc. Sec. Litig.,
    2023 WL 3442087 (W.D. Tex. May 11, 2023) .........................................................................5




                                                                   ii
    Case 4:24-cv-01940                   Document 46               Filed on 04/14/25 in TXSD                      Page 4 of 22




In re Plains All Am. Pipeline, L.P. Sec. Litig.,
    307 F. Supp. 3d 583 (S.D. Tex. 2018) .......................................................................................9

Janus Cap. Grp., Inc. v. First Derivative Traders,
   564 U.S. 135 (2011) ...................................................................................................................3

Junius Constr. Co. v. Cohen,
   178 N.E. 672 (N.Y. 1931) ..........................................................................................................7

Kleinman v. Elan Corp.,
   706 F.3d 145 (2d Cir. 2013).......................................................................................................8

Local 210 Unity Pension & Welfare Funds v. McDermott Int’l Inc.,
   2015 WL 1143081 (S.D. Tex. Mar. 13, 2015) ...................................................................1, 2, 4

Local 731 I.B. of T. Excavators & Pavers Pension Tr. Fund v. Diodes, Inc.,
   810 F.3d 951 (5th Cir. 2016) .....................................................................................................5

Macquarie Infrastructure Corp. v. Moab Partners, L.P.,
  601 U.S. 257 (2024) ...................................................................................................................7

Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC,
  164 F. Supp. 3d 568 (S.D.N.Y. 2016)......................................................................................11

Nakkhumpun v. Taylor,
   782 F.3d 1142 (10th Cir. 2015) .................................................................................................7

Nathenson v. Zonagen Inc.,
   267 F.3d 400 (5th Cir. 2001) ...................................................................................................14

Okla. Firefighters Pension & Ret. Sys. v. Six Flags Entm’t Corp.,
   58 F.4th 195 (5th Cir. 2023) ..................................................................................2, 6, 7, 11, 14

Plaisance v. Schiller,
   2019 WL 1205628 (S.D. Tex. Mar. 14, 2019) ...........................................................................4

Plotkin v. IP Axess Inc.,
   407 F.3d 690 (5th Cir. 2005) .......................................................................................2, 4, 5, 14

Roofers Local No. 149 Pension Fund v. Amgen Inc.,
   751 F. Supp. 3d 330 (S.D.N.Y. 2024)........................................................................................5

Rougier v. Applied Optoelectronics, Inc.,
   2019 WL 6111516 (S.D. Tex. Mar. 27, 2019) ...........................................................................8

Southland Securities Corp. v. INSpire Ins. Sols., Inc.,
   365 F.3d 353 (5th Cir. 2004) ...............................................................................................8, 12




                                                                    iii
    Case 4:24-cv-01940                    Document 46                Filed on 04/14/25 in TXSD                      Page 5 of 22




Stratte-McClure v. Morgan Stanley,
    776 F.3d 94 (2d Cir. 2015).......................................................................................................12

W. Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc.,
   495 F. Supp. 3d 622 (N.D. Ill. 2020) .........................................................................................4

Yannes v. SCWorx Corp.,
   2021 WL 2555437 (S.D.N.Y. June 21, 2021) .........................................................................15

STATUTES

15 U.S.C. § 78u-5 ......................................................................................................................9, 10

OTHER AUTHORITIES

Fed. R. Civ. P. 9(b) ..................................................................................................................5, 8, 9




                                                                     iv
      Case 4:24-cv-01940              Document 46           Filed on 04/14/25 in TXSD               Page 6 of 22




                                                   INTRODUCTION1

           Congress enacted the PSLRA to filter out meritless securities-fraud lawsuits like this one,

in which “securities plaintiffs” try to “find a road to success in the rearview mirror.” Ark. Teacher

Ret. Sys. v. Goldman Sachs Grp., Inc., 77 F.4th 74, 101 (2d Cir. 2023). Defendants’ Motion to

Dismiss (“Motion” or “MTD”) laid out the various defects in Plaintiff’s Consolidated Complaint

(“CC”) and the various challenged statements (“CSs”) contained therein. Plaintiff’s Opposition

does nothing to rescue the CC from those shortcomings, skipping over binding Fifth Circuit

authority when most convenient and exaggerating the CC’s allegations, which have only grown

more dubious in recent months. See Colossus Media, LLC v. Adalytics Research, LLC, 2025 WL

712986, at *6-11 (D. Md. Mar. 5, 2025) (concluding that Direct Digital pleaded a prima facie

defamation claim as to the Adalytics blog post that undergirded the CC and its cited articles); Ex.

15, 4/11/25 MRC Statement at 1, 9 (statement by the Media Rating Council—a not-for-profit

industry self-regulatory body—criticizing an Adalytics post as “incomplete” and containing

“omissions” that “may lead a reader to imply issues that were not confirmed directly”). Beneath

Plaintiff’s empty rhetoric lies the same sort of fraud-by-hindsight pleading this Court dismissed in

Local 210 Unity Pension & Welfare Funds v. McDermott Int’l Inc., 2015 WL 1143081 (S.D. Tex.

Mar. 13, 2015), which the Opposition tellingly buries in a lone footnote halfway through.

                                          ARGUMENT AND AUTHORITIES

I.         The Opposition fails to identify any false or misleading statement.

           A.        The Opposition has no comeback to the puffery nature of many CSs.

           The Opposition tries to sidestep the obvious puffery nature of the CSs by insisting that

these (concededly) “vague statements” are actionable because they are “contextually connected to



1
    Unless otherwise noted, all internal quotation marks, citations, and footnotes from quoted material have been omitted.


                                                             1
   Case 4:24-cv-01940        Document 46        Filed on 04/14/25 in TXSD        Page 7 of 22




more concrete misstatements.” Opp 14. But the supposedly “concrete misstatements” it identifies

are nothing more than generalized terms—e.g., “platform,” “infrastructure,” “operating leverage,”

and “inventory quality”—for which the CC never specifies falsity with particularity. That leaves

Plaintiff clinging to inapposite cases involving “precise information” about “confirming”

deadlines, Okla. Firefighters Pension & Ret. Sys. v. Six Flags Entm’t Corp., 58 F.4th 195, 220 (5th

Cir. 2023), or statements of facts about “signed, allegedly lucrative contracts” to “create an

impression that a substantial payoff would soon flow from the contracts” when the company

actually “embarked on a speculative venture,” Plotkin v. IP Axess Inc., 407 F.3d 690, 698-99 (5th

Cir. 2005). Those statements are nothing like the CSs, which convey “nothing more than corporate

optimism” about Direct Digital’s future prospects. McDermott, 2015 WL 1143081, at *7.

       B.      The CC continues to lack any actionable misstatement of fact.

       The Opposition presses only an omissions theory as to the “cookie transition” and

“guidance-miss explanation” statements. Infra I.C. And it makes no headway in attacking the

remaining arguably factual statements discussed in the Motion.

       “Committed” to “growth initiatives.” The Opposition claims (in a footnote) that “Smith’s

November 9, 2023 statement that Defendants were committed to executing Q3’s growth initiatives

in Q4” is “plausibly rendered false by the fact that Defendants immediately reversed course in

‘November/December.’” Opp. 14 n.8. But the CC never alleges that Direct Digital abandoned the

growth initiatives that Smith was actually speaking about, MTD 10, much less “reversed course”

on them. Defendants’ Motion further explained that Direct Digital’s steps to prepare for a cookie-

free future during the “November/December” timespan do not show falsity as to Smith’s

November 9 statement, which did not say Direct Digital would eschew preparations for a cookie-

free future in the first place. MTD 10-11. The Opposition has no response to those points.

       Addressing IVT. The Opposition says the CS that Direct Digital “address[es] IVT” in


                                                2
   Case 4:24-cv-01940        Document 46        Filed on 04/14/25 in TXSD        Page 8 of 22




several ways, including “sophisticated technology,” CC ¶ 97, is false because “the technology

failed to detect the mis-declaration issue.” Opp. 15. But the Opposition ignores the reality—and

the caselaw from this Circuit—that identifying processes or safeguards is not tantamount to

guaranteeing a 100% prevention rate. MTD 11-12 & n.10. Indeed, despite declaring “the

Company’s efforts to address IVT were far less effective than implied,” Opp. 15, the Opposition

tellingly neglects to challenge the concrete 1% IVT rate the Company actually disclosed, CC ¶ 97.

       Q1 2024 financials. The Opposition cannot impugn the accuracy of Walker’s statement,

published in a May 10 article, that “[t]he financial solvency of our company is very sound.”

CC ¶ 118. The Opposition instead focuses on the ensuing clause, which consists of a reporter’s

paraphrasing and a snippet of a quotation: “adding that it remains profitable and its first-quarter

performance was ‘up 20% year over year.’” Opp. 22-24 (citing CC ¶ 118). Yet the Motion

explained not only that “it,” here, meant Colossus (not DDH as a whole), but more importantly,

“[f]or purposes of Rule 10b–5, the maker of a statement is the person or entity with ultimate

authority over the statement, including its content and whether and how to communicate it.” Janus

Cap. Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011) (cited at MTD 13). At most,

the Opposition identifies a plurality of lower-court authority on attribution of paraphrased

statements, offering only hollow distinctions for Defendants’ cases. Compare Opp. 23, with MTD

13-14 & n.11. But it cannot credibly suggest that the “it” must be Direct Digital, when the article

also speaks in terms of “Colossus” as its own SSP and the “Impacts on Colossus.” Ex. 4. The far

more plausible inference is that Walker was accurately referencing Colossus’s growth, since

neither the CC nor the Opposition even try to explain why Walker would supposedly lie about

Direct Digital’s Q1 2024 financial metrics in May, only to disclose them in October. Infra II.A.

       C.      The CC continues to lack an actionably false or misleading omission.

       The Opposition—like the CC—relies heavily on an omissions theory. But the law and the


                                                3
    Case 4:24-cv-01940             Document 46           Filed on 04/14/25 in TXSD               Page 9 of 22




facts (or lack thereof) continue to stand firmly in its way.

         Cookie-transition impact. The Opposition only briefly defends the theory that Defendants

failed to timely reveal the financial impact associated with Direct Digital’s (publicly disclosed)

transition to a cookie-free environment. Opp. 18-19. But all it can muster is an inapposite case,2

coupled with the CC’s fraud-by-hindsight narrative, in which (a) taking steps during Q4 2023 to

transition away from cookies and (b) later announcing decreased revenue from the transition, must

mean that (c) all of those facts were contemporaneously apparent and available when Defendants

spoke. This Court has already rejected that mode of pleading—which applies to falsity and

scienter. McDermott, 2015 WL 1143081, at *10 (recognizing that “later results,” standing alone,

“do not establish that the earlier statements were false when made”); contra Opp. 19 n.12.3

         User ID issues. The Opposition does not dispute that a company cannot misleadingly omit

information it does not have. MTD 15. So it throws up its hands and suggests Defendants must

have known of the purported early 2023 Trade Desk partial blockage based on later (unspecified

and unquantified) changes to Trade Desk’s deal volume (which, even in the CC’s inaccurate

telling, made up only 6% of revenue for one of Direct Digital’s subsidiaries). Opp. 2, 13-14 &

n.16; infra n.7. Plaintiff’s citation to Plotkin v. IP Axess Inc., 407 F.3d 690, 698 (5th Cir. 2005),

for that theory is an enormous tell, as that case actually announced a general “rule” that later-

emerging facts “cannot” be used to plead securities fraud and only referenced extreme

“circumstances” that serve as a narrow exception to that rule—where, for example, “the fact that


2
  See W. Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc., 495 F. Supp. 3d 622, 655 (N.D. Ill. 2020)
(cited at Opp. 19) (discussing only whether present-tense statements of growth were forward-looking and recognizing
that “exact range” of financial metric would not be definitively known even after quarter’s end).
3
  See also, e.g., Plaisance v. Schiller, 2019 WL 1205628, at *24 (S.D. Tex. Mar. 14, 2019) (invoking “fraud by
hindsight” authority and holding “the fact that EXXI’s ultra-deep drilling activities were ultimately not successful is
not probative of falsity”); Heck v. Orion Grp. Holdings, Inc., 468 F. Supp. 3d 828, 848 (S.D. Tex. 2020) (referring to
“fraud by hindsight” as “where a plaintiff alleges the fact that a company reports negative results means that the
company’s prior reports of good results must have been false”).



                                                          4
    Case 4:24-cv-01940            Document 46            Filed on 04/14/25 in TXSD               Page 10 of 22




a business files for bankruptcy on ‘Day Two,’ may, under the right surrounding circumstances,

provide grounds for inferring that the business was performing poorly on ‘Day One.’” Id.

(emphasis added). Nothing of the sort is alleged here.

         Even if Direct Digital were aware of the early 2023 Trade Desk User ID issue, the

Opposition still lacks a coherent explanation for why Defendants were then obligated to disclose

that issue when they made the CSs months later—after experiencing record revenues despite the

alleged partial blockage. MTD 15. The best the Opposition can do is repeatedly declare the Trade

Desk issue a “plague[]” and “crisis” presenting a “devastating” undisclosed “risk” to Colossus.

Opp. 5, 13, 16. That is nonsense. Rule 9(b) and the PSLRA require particularized facts—not

adjectives—to state a claim for falsity. See, e.g., Local 731 I.B. of T. Excavators & Pavers Pension

Tr. Fund v. Diodes, Inc., 810 F.3d 951, 959 (5th Cir. 2016) (“whether Diodes’s workplace

conditions ‘profoundly’ contributed to the labor shortage is an adverb, not a factual assertion”).

And if the supposed “risk” was that Direct Digital had an approximately 1% IVT rate circa late

2023, that is something Direct Digital publicly disclosed on the first day of the Class Period (and

Plaintiff does not contest, supra I.B). CC ¶ 97.4

         With respect to Google’s purported temporary suspension, the Opposition does not dispute

the basic principle that a company need not disclose every operational issue—only those that

otherwise would render a public statement misleading. MTD 16. That explains why the Opposition

picks fights with its own sources, claiming that Direct Digital had not “fully rectified” the issue,

despite the CC recounting that the issue “was rectified and Colossus was reinstated by Google’s


4
 Plaintiff’s cited authority on this point is inapposite. See In re Cassava Scis., Inc. Sec. Litig., 2023 WL 3442087, at
*3, 7 (W.D. Tex. May 11, 2023) (company touted test result of its “primary drug” candidate but omitted “unfavorable
data,” “highly anomalous” results, a “missing data point,” and involvement of interested party that raised “grave
concerns” of test’s efficacy); Roofers Local No. 149 Pension Fund v. Amgen Inc., 751 F. Supp. 3d 330, 347-48
(S.D.N.Y. 2024) (concluding that, given its “sheer size,” tax liability that exceeded company’s cash and cash
equivalents was fraudulently omitted from risk disclosures).



                                                           5
  Case 4:24-cv-01940         Document 46       Filed on 04/14/25 in TXSD         Page 11 of 22




DSP.” Opp. 16; CC ¶ 71 (emphasis added); see also Ex. 16, 5/20/24 Article (cited at CC ¶ 73)

(reporting that Google’s “DV360 start[ed] [sic] buying again”). The Court should reject those

backtracking efforts, just as it should see through the Opposition’s attempt (at 17) to bolster the

temporary Q4 2023 Google allegation by referencing a quarter-over-quarter decrease in Direct

Digital’s 1Q 2024 revenue—which naturally says nothing about what Defendants knew (or could

have disclosed) when Q1 2024 had either not started (for CSs 7-8) or had just begun (for CSs 9-

11). And the Court need only examine Plaintiff’s cited authority to see how dramatically it diverges

from the allegations here. See Six Flags, 58 F.4th 208-10, 217-19 (defendants maintained that

parks were “progressing nicely” and development partner had “a lot of assets,” “continu[ed] to

pay,” and “financing [was] in place,” when in fact there had been “essentially no construction”

and the development partner “was firing its employees, was underpaying its workers, had stopped

construction, and had ‘zero funds’ to finance the project”); Hutchins v. NBTY, Inc., 2012 WL

1078823, at *5 (E.D.N.Y. Mar. 30, 2012) (defendants omitted that company’s largest customer

was soliciting competitive bids and could permanently injure its business, while reaping $73

million in insider sales).

        Short pay. In attacking statements that the cookie transition and decreased demand were

“two primary factors” for the guidance miss, the Opposition presses a mathematical fallacy: that

the short pay must have “had the largest financial impact on Q4 2023” because it “account[ed] for

more than $8.8 million of the $12.9 million shortfall” from the low end of the guidance range.

Opp. 9-10. That does not follow. The $12.9 million shortfall is the culmination of all factors that

caused Direct Digital to underperform its revenue expectations. Hence, if Direct Digital

expected—but did not receive—revenue greater than $8.8 million on account of the cookie

transition or decreased demand, then those factors would indeed be more “primary” to the guidance




                                                 6
    Case 4:24-cv-01940            Document 46            Filed on 04/14/25 in TXSD               Page 12 of 22




miss than the short pay. The absence of facts allowing for that comparison therefore remains fatal.5

         The Opposition fares no better analogizing to the half-truth example recounted in

Macquarie Infrastructure Corp. v. Moab Partners, L.P., 601 U.S. 257 (2024), in which the speaker

makes “a tacit representation that the land to be conveyed was subject to no other[]” roads, and

certainly none “vastly greater in degree” of risk. Junius Constr. Co. v. Cohen, 178 N.E. 672, 674

(N.Y. 1931) (emphasis added) (discussed in Macquarie). The CS here made no such representation

that the factors enumerated were the only factors, or that no additional factors bore on the guidance

miss. CC ¶ 113.6 That puts this case on all fours with decisions like Impax and Smallen (cited at

MTD 18), which Plaintiff either ignores (as to Impax) or offers a non-distinction (as to Smallen)

that only ends up highlighting the shortcoming here. Opp. 10 n.3 (“the [Smallen] court did not

agree with the plaintiffs’ characterization of what the misleading statements meant to convey and

why they were purportedly misleading in the first instance”).

         From there, the Opposition embellishes the CC. Plaintiff suggests that Direct Digital

somehow recanted the decreased-Q4 demand factor in its October 2024 10-K, when actually the

“increase in 2023 sell Side (Colossus) demand” referenced (at Opp. 11) was a year-over-year

increase in 2023 demand—not a quarter-over-quarter increase in Q4 2023 demand. CC ¶ 87.

Similarly, Plaintiff conclusorily declares the short pay, unlike the two enumerated factors, was not

“transitory in nature,” Opp. 10, when actually the CC’s own allegations state that the purported

Google7 suspension was “temporar[y]” and the alleged issue “was rectified and Colossus was


5
  In Six Flags (cited at Opp. 11), it did not matter “how much revenue was overstated” since the bare fact of an
overstatement was false and misleading. 58 F.4th at 220-21. Here, the “how much” question is critical because Plaintiff
attacks the degree to which Defendants attributed the guidance miss to certain factors.
6
 Nakkhumpun v. Taylor (cited at Opp. 10) is even further afield, as it involved a defendant making a “false statement”
by affirmatively misstating the reason for the termination of a deal. 782 F.3d 1142, 1148 (10th Cir. 2015).
7
  As the MTD explained (at 6 n.5), Plaintiffs’ attribution of the short pay to Google—despite Direct Digital being only
indirectly connected to Google through its intermediary Bidswitch—is pure (if ultimately immaterial) speculation.



                                                          7
  Case 4:24-cv-01940         Document 46       Filed on 04/14/25 in TXSD         Page 13 of 22




reinstated by Google’s DSP.” CC ¶¶ 71, 131. Dissatisfied with his own factual allegations, Plaintiff

tries to fill the gaps with rhetorical commentary from an online article. Opp. 12 (citing ADOTAT

article). But it is well settled that the Court must decide falsity for itself—not by using “market

reaction [a]s a gauge for falsity.” Kleinman v. Elan Corp., plc, 706 F.3d 145, 155 (2d Cir. 2013);

see also Hershfang v. Citicorp, 767 F. Supp. 1251, 1255 (S.D.N.Y. 1991) (“The complaint must

rise or fall on allegations about defendant[’s] conduct and not on wide-eyed citation to the

gratuitous commentary of outsiders.”).

       Finally, the Opposition claims that a more detailed disclosure of the short pay could not

have been “premature” because “it had already occurred.” Opp. 11. But the occurrence of an event

begs—not answers—the reasonable-time-to-investigate question. MTD 18-19; e.g., Higginbotham

v. Baxter Int’l Inc., 495 F.3d 753, 761 (7th Cir. 2007) (no obligation to “jump the gun with half-

formed stories as soon as a problem comes to their attention”) (emphasis added). Plaintiff has no

response to Defendants’ authority, apart from (a) naked speculation that Direct Digital must have

known the reason for the short pay, Opp. 12 n.5, and (b) the distinguishable case of Rougier v.

Applied Optoelectronics, Inc., where defendants “touted their visibility into customers’ future

orders and [internal] forecasts in customer demand” while concealing that its largest customer’s

demand “had dropped…drastically.” 2019 WL 6111516, at *1, *9 (S.D. Tex. Mar. 27, 2019).

       Pulse 2.0 Article. Plaintiff has no excuse for his Rule 9(b) failure to identify “when”

Walker made the statement published in the February 1, 2024 Pulse 2.0 Article. Southland

Securities Corp. v. INSpire Insurance Solutions, Inc. (cited at Opp. 21) did not eliminate that

requirement; it acknowledged that it was “arguable whether the plaintiffs adequately allege when”

certain “statements, took place,” and only “assume[d] arguendo” the complaint sufficed because

it provided a specific, less-than-one-month window in which they must have occurred. 365 F.3d




                                                 8
    Case 4:24-cv-01940             Document 46            Filed on 04/14/25 in TXSD                 Page 14 of 22




353, 372-73 (5th Cir. 2004) (emphases added). No such for-argument’s-sake assumption can be

made here, where only Plaintiff’s say-so—not factual allegations—declares that the article “was

published shortly after Walker provided his answers.” Opp. 21 n.18.8

         Sensing this temporal dilemma, the Opposition pivots to the fact that Direct Digital’s

LinkedIn account provided a link to the Pulse 2.0 interview on February 2, 2024, thanking Pulse

2.0 “for diving into the story behind Direct Digital Holdings.” Opp. 21-22. What could possibly

be false or misleading about that tag line or the mere linkage of the article is hard to understand.

But even worse, this “unattributed website statement” is completely disconnected from any

Individual Defendant who “made or authorized” the statement with “the requisite scienter,” much

less constitutes the sort of “extraordinary and dramatic” statement that “must have been approved

by corporate officials sufficiently knowledgeable about the company to know that the

announcement was false.” In re Plains All Am. Pipeline, L.P. Sec. Litig., 307 F. Supp. 3d 583, 627-

28 (S.D. Tex. 2018) (dismissing claim as to “unattributed statement” on website that “could have

been written by someone with no specific information, passed to [the company’s] marketing or

investor-relations department, and displayed on the website with no oversight from senior ranks”).

         D.       The Opposition cannot escape the PSLRA’s safe harbor.

         Faced with the PSLRA’s blackletter definition of a forward-looking statement, 15 U.S.C.

§ 78u-5(i)(1), which encompasses Direct Digital’s guidance projections and plans for future

operations, the Opposition claims that such statements are “not forward-looking” because of an




8
  Plaintiff’s tangent on the amended complaint in Crutchfield (Opp. 21) goes nowhere. That complaint referenced a
specific December 20, 2018 video interview that was quoted in a December 21, 2018 article, which itself stated that
the defendant “recently sat down” for the interview. Dkt. 45-1, Pl. Appx A-039; Ex. 17, WSJ Article (emphasis added).
The court’s resulting opinion did not discuss the timing issue, simply concluded that the complaint “adequately
specified at least some allegedly misleading statements or omissions,” Pl. Appx. A-200, and did not recant the
principle from its original opinion that failure to plead the “when” of a statement falls short of the “heightened pleading
standards required by Rule 9(b).” Crutchfield v. Match Grp., Inc., 529 F. Supp. 3d 570, 591 (N.D. Tex. 2021).


                                                            9
  Case 4:24-cv-01940          Document 46        Filed on 04/14/25 in TXSD          Page 15 of 22




“omission of present facts.” Opp. 15. In support, the Opposition cites several cases clarifying that

statements about present facts are not forward-looking and that a mixed present/future statement

is not protected with respect to the part of the statement referring to the present. Opp. 15 (collecting

cases). Those principles are true as far as they go, but they have no bearing on Defendants’

quintessentially forward-looking revenue guidance and other predictions. See MTD 19-20.

        The Opposition does not question Defendants’ authority explaining that guidance

statements after quarter-end remain forward-looking if financial results have not yet been

tabulated, MTD 20-22, and concedes that the CC does not allege when revenues were tabulated.

See Opp. 19 (“even if Defendants had not yet precisely tallied the lost revenues”). The Opposition

cites CC ¶ 50 for the assertion that “revenues [are] tallied in real-time,” Opp. 19, but that paragraph

purports to describe accounting revenue-recognition rules, not when the company tabulates

revenue into quarterly results that an executive can compare and track against forecasted guidance.

The Opposition’s additional assertion that “[i]f considered opinions,” the near- and post-quarter-

end guidance statements “would be current opinions,” Opp. 18 n.11, is another way of incorrectly

suggesting such statements were not forward-looking.

        When, as here, the PSLRA’s definition of forward-looking statement encompasses a

challenged statement, see Defs.’ App’x A (identifying forward-looking statements), the CC must

overcome both prongs of the safe harbor. MTD 19-22 (citing 15 U.S.C. § 78u-5(c)(1)). The

Opposition fails to explain how it overcomes either. With respect to the first prong, i.e., that the

statements were identified as forward-looking and accompanied by meaningful cautionary

language, Defendants cited the cautionary language accompanying CSs 2, 4, and 5 made

November 9, 2023. MTD 20-21. The Opposition argues that this cautionary language was

insufficient given the “already-partially-materialized risk to the Company’s relationships with its




                                                  10
     Case 4:24-cv-01940           Document 46            Filed on 04/14/25 in TXSD              Page 16 of 22




key customers,” Opp. 15 n.9, but that argument assumes that Defendants knew of purported user

ID problems from The Trade Desk prior to November 9, 2023, which the CC never alleges. With

respect to the second prong, i.e., where “the plaintiff fails to prove that the forward-looking

statement...was made with actual knowledge” of falsity, the Opposition simply refers the Court to

its scienter section. Opp. 15 n.9, 18. The Opposition’s scienter arguments, however, do not make

the required showing, infra II, and are particularly inadequate to overcome the even “higher

scienter standard” needed to show “actual knowledge” of falsity. Six Flags, 58 F.4th at 214-15.9

II.      The Opposition comes nowhere close to identifying a strong inference of scienter.

         A.       The CC’s scienter theory remains implausible, especially when juxtaposed
                  against the backwards motive allegations.

         The Opposition still lacks an answer to the vexing questions posed by the CC’s scienter

theory, including what Walker and Diaz stood to gain by reaffirming Q4 2023 guidance, only to

voluntarily disclose the shortfall weeks later. MTD 24. Plaintiff cannot liken that explanatory gap

to the “reckless[] gamble” in Six Flags (cited at Opp. 1, 30), where “Defendants were

motivated…to hide the true” facts “to achieve the target EBITDA” and “receive equity awards of

600% and 300% of their base salaries.” 58 F.4th at 215. Nor can Plaintiff make sense of the CC

by confusingly asserting that he “does not allege the guidance was always impossible to meet”

while simultaneously disagreeing that Defendants “needed time to discover the [revenue]

shortfall.” Compare Opp. 28, with id. at 30 n.25. Which is it?

         Plaintiff then suggests the “delay[]” in Defendants’ discussing the short pay in the October

2024 10-K “further supports an inference of Defendants’ intent to mislead.” Opp. 28, 30.10 But


9
  The Opposition’s arguments as to why Defendants’ opinion statements are actionable recite the Omnicare standard
and add little beyond the Opposition’s other arguments. Opp. 15-16, 20, 24 n.22. These arguments fail for the same
reasons that the Opposition cannot show a false or misleading statement or scienter.
10
 The only authority Plaintiff cites on this point bears scant resemblance to this case. See Menaldi v. Och-Ziff Capital
Mgmt. Grp. LLC, 164 F. Supp. 3d 568, 575, 584 (S.D.N.Y. 2016) (defendants failed to disclose DOJ subpoena for


                                                         11
     Case 4:24-cv-01940            Document 46           Filed on 04/14/25 in TXSD                Page 17 of 22




harping on that timing only begs the same unanswered question—what did Walker and Diaz stand

to gain from the purported delay? See Southland, 365 F.3d at 369 (“The fact that other defendants

did not sell their shares during the relevant class period undermines plaintiffs’ claim that

defendants delayed notifying the public so that they could sell their stock at a huge profit.”). The

far more compelling, non-culpable inference remains that Direct Digital investigated the short pay

and, unable to resolve it or determine its impetus, disclosed it in the first 10-K filed after securing

a replacement auditor. See Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 107 (2d Cir. 2015)

(holding that the “most cogent inference” was that company was “carefully review[ing] all of the

relevant evidence and was at worst negligent as to the effect of the delay on investors”).

         The Opposition only exaggerates the incoherence of the CC’s scienter theory by pointing

out that Smith—who made just one, benign CS on November 9—sold some of his stock on

December 11 and 12, 2023. Opp. 29. The Opposition relegates that CS to a one-sentence footnote,

Opp. 14 n.8; supra I.B, all but conceding the CC named Smith as a defendant only to manufacture

a claim of ‘insider trading.’11 What is more, the Opposition ignores the robust Fifth Circuit

authority (cited at MTD 25-26) that “even unusual sales by one insider do not give rise to a strong

inference of scienter when other defendants”—here, Walker and Diaz—“do not sell some or all of

their shares during the Class Period.” Abrams v. Baker Hughes Inc., 292 F.3d 424, 435 (5th Cir.

2002); see Opp. 29 n.24 (citing only out-of-Circuit authority). That principle is particularly

important here, where the non-selling defendants sold nothing and yet are the ones that actually

made the CSs and purportedly carried out the fraudulent scheme.


multiple years, all while denying existence of “investigation that could have a material impact on its business”).
11
   Plaintiff insists that, even if Smith lacks primary liability under § 10(b), he has secondary liability as a “control
person of Direct Digital” under § 20(a). Opp. 29 n.24. But the CC pleads no connection between Smith and the other
CSs in this case apart from his bare executive status, which does not suffice for control-person liability. CC ¶¶ 30, 32;
see, e.g., Carlton v. Cannon, 2016 WL 3959164, at *4, *7 (S.D. Tex. July 22, 2016) (“status alone” and “[g]eneral
allegations about day-to-day participation in corporate affairs” are insufficient support for control-person liability).



                                                          12
  Case 4:24-cv-01940          Document 46        Filed on 04/14/25 in TXSD          Page 18 of 22




       B.      The Opposition cannot make out a strong inference of scienter through the
               CC’s circumstantial allegations.

               1.      Plaintiff continues to          lack   particularized    factual    allegations
                       demonstrating scienter.

       The Opposition cannot point to any factual allegations in the CC identifying what,

specifically, the Individual Defendants knew and when that are probative of scienter. So it relies

instead on anonymous sources that had no interaction with the Individual Defendants and seeks to

stretch these sources to support points they cannot substantiate. The Opposition, for instance,

repeatedly asserts that Defendants knew in 2023 of The Trade Desk’s alleged detection of user ID

issues, despite no source stating that. E.g., Opp. 1, 2, 5, 13, 15, 16, 17, 26, 27. It recounts the

allegations attributed to the “confidential witness” Colossus “media manager,” without explaining

how or why that CW would “know when and why the 92% customer ‘pulled the connection.’”

Opp. 8. And it does not even defend the reliability of the “person familiar with the situation” and

a “publisher executive familiar with Colossus,” Ex. 13, 5/10/24 AdAge, despite relying on

allegations in the CC that were derived exclusively from these “sources.” These assertions are not

particularized pleadings of alleged facts sufficient under the PSLRA.

               2.      Plaintiff’s boilerplate scienter theories remain flawed.

       Core Operations. The Opposition tries desperately to shoehorn this case into the narrow,

four-factor “core operations” doctrine. Opp. 26-29. That effort fails at every turn, with Plaintiff’s

cited authority only serving to demonstrate what this case is not.

       First, the Opposition ignores Fifth Circuit authority indicating that a 90-employee

company like Direct Digital should not qualify for the core operations exception. MTD 28-29. In

fact, the Opposition proves Defendants’ point by (a) citing Dorsey v. Portfolio Equities, Inc., in

which a zero-employee company “was dependent upon” its eight-employee managing company

for revenue, 540 F.3d 333, 342 (5th Cir. 2008), (b) retreating to out-of-circuit cases, and (c) seeking


                                                  13
     Case 4:24-cv-01940          Document 46           Filed on 04/14/25 in TXSD             Page 19 of 22




to move the goal posts by improperly isolating the number of Colossus employees, when what

matters is that Defendants were executives of the larger holding company. Opp. 27 & n.23.

         Second, the Opposition wrongly conflates the requirement that an issue be “critical to the

company’s continued vitality” with any issue that involves a company’s largest customer.

Plaintiff’s own authority demonstrates the company-derailing facts required to satisfy this second

factor. See Plotkin, 407 F.3d at 692, 694, 700 (“struggling,” “fledgling” company entered

agreements that would increase its revenue thirty-fold but went bankrupt eight months later when

it did not “receive even a dollar” under those agreements); Nathenson v. Zonagen Inc., 267 F.3d

400, 422, 425 (5th Cir. 2001) (executive of less-than-40-employee, single-product company falsely

stated that patent covered the drug involving “[s]ubstantially all of the Company’s efforts and

expenditures”). Those oft-distinguished12 cases bear no resemblance to the mere eight percent

shortfall from FY 2023 revenue guidance at issue in this case.

         Third, the Opposition comes nowhere close to identifying an egregious falsehood that

would have been “readily apparent to the speaker.” In Six Flags, the defendants expressly stated

that they “comprehensive[ly] review[ed]” project timelines, such that the “disastrous state” of the

company’s parks would have been “readily apparent.” 58 F.4th at 219. And even then, those core

operations allegations had to be “combined” with robust motive and circumstantial allegations. Id.

at 218-19 (emphasis added). The Opposition can point to no similarly rich scienter narrative here,

just Defendants’ generic comments regarding Direct Digital’s operations and revenue guidance,

coupled with the conclusory assertion that “critical operational issues would have been obvious to

the Company’s top officers and majority owners.” Opp. 27.


12
  See Fener v. Belo Corp., 425 F. Supp. 2d 788, 810 n.22 (N.D. Tex. 2006) (distinguishing 5% overstatement from
Plotkin’s “thirty-fold increase in revenue”); Callinan v. Lexicon Pharm., Inc., 479 F. Supp. 3d 379, 436 (S.D. Tex.
2020) (distinguishing Dorsey and Nathenson because company employed 120 to 202 people and did not depend on
drug approval for its survival).



                                                        14
  Case 4:24-cv-01940          Document 46        Filed on 04/14/25 in TXSD          Page 20 of 22




       Fourth, with respect to the last core operations factor, the only thing that is “internally

inconsistent” is the Opposition. It declares that Defendants’ statements “regarding the primary

factors” for the revenue shortfall “were inconsistent,” while also claiming that Walker and Diaz

made the “same misrepresentation” and thus must have been “coordinated” in their supposed

deceit. Opp. 28. As discussed above, the more plausible inference is that Walker and Diaz both

accurately relayed two of the primary reasons for the guidance miss, which poses no inconsistency

with Direct Digital’s later discussion of an additional factor. Supra I.C. Plaintiff’s citation to In re

ArthroCare Corp. Securities Litigation—in which a defendant “made several specific denials” of

allegations despite being “confronted…with evidence of various fraudulent practices,” 726 F.

Supp. 2d 696, 712, 717 (W.D. Tex. 2010)—is therefore inapposite.

       Unrelated Auditor Resignation. Even as inaccurately described in analyst reports, Direct

Digital’s auditor’s resignation allegedly related to SOC-1 reports for vendors (not Direct Digital)

and verifying impression counts (never challenged in the CC). Opp. 28-29. That hardly links the

resignation to Defendants’ knowledge of the alleged user-ID problems animating Plaintiff’s fraud

theory, much less to support scienter. And the one case Plaintiff cites confirms that the

“circumstances of resignations”—here, that the auditor allegedly resigned for reasons unrelated to

this case—are what matters, not the mere resignation itself. Yannes v. SCWorx Corp., 2021 WL

2555437, at *6 (S.D.N.Y. June 21, 2021) (resignations are “not themselves sufficient”); MTD 29-

30.

III.   The Section 20(a) claim fails with the primary claim.

       The Opposition does not dispute that the § 20(a) claim requires a cognizable primary claim.

MTD 30. Because the CC’s § 10(b) claim fails, so does its § 20(a) claim.

                                            CONCLUSION

       The Court should dismiss the CC with prejudice.


                                                  15
Case 4:24-cv-01940   Document 46   Filed on 04/14/25 in TXSD   Page 21 of 22




                                     Respectfully submitted,

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                                   16
  Case 4:24-cv-01940        Document 46       Filed on 04/14/25 in TXSD        Page 22 of 22




                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via ECF
and/or electronic mail on all counsel of record on this 14th day of April, 2025.

                                            /s/ Amy Pharr Hefley
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                                               17
